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11 Holding Co. and Express Scripts, Inc.

12                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
13
   CZ SERVICES, INC. d/b/a CAREZONE                Case No. 3:18-cv-4217-EDL
14 PHARMACY,
                                                   DECLARATION OF ETHAN GLASS IN
15                Plaintiff,                       SUPPORT OF EXPRESS SCRIPTS’
                                                   MOTION TO TRANSFER
16         v.

17 EXPRESS SCRIPTS HOLDING CO. and                 Hearing Date: August 28, 2018
   EXPRESS SCRIPTS, INC.,                          Time:         9:00 a.m.
18                                                 Place:        Courtroom E
             Defendants.                           Judge:        Magistrate Judge
19                                                               Elizabeth D. Laporte

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                               GLASS DECLARATION RE: MOTION TO TRANSFER
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 1          I, Ethan Glass, declare as follows:
 2          1.     I am a member of the State Bar of California, admitted to practice before this
 3 Court, and a partner in the law firm of Quinn Emanuel Urquhart & Sullivan, LLP, attorneys for

 4 Defendants Express Scripts Holding Company and Express Scripts, Inc. (collectively, “Express

 5 Scripts”). I have personal knowledge of the facts set forth in this declaration.

 6          2.     I make this declaration in support of Express Scripts’ Motion to Transfer, filed
 7 herewith.

 8          3.     A true and accurate copy of the PSAO Pharmacy Affiliation executed by CZ
 9 Services with AccessHealth is attached hereto as Exhibit 1.
10          4.     A true and accurate copy of relevant portions of the PSAO Pharmacy Provider
11 Agreement is attached hereto as Exhibit 2.

12          5.     A true and accurate copy of relevant portions of CZ Services’ May 2015 Provider
13 Certification is attached hereto as Exhibit 3.

14          6.     A true and accurate copy of relevant portions of the Provider Manual is attached
15 hereto as Exhibit 4.

16          7.     A true and accurate copy of the April 12, 2017 cease-and-desist letter sent by
17 Express Scripts to CZ Services is attached hereto as Exhibit 5.

18          8.     A true and accurate copy of the letter CZ Services sent to Express Scripts on
19 October 5, 2017, is attached hereto as Exhibit 6.

20          9.     A true and accurate copy of the letter CZ Services sent to Express Scripts on
21 February 12, 2018, is attached hereto as Exhibit 7.

22          10.    A true and accurate copy of the letter CZ Services sent to Express Scripts on March
23 9, 2018, is attached hereto as Exhibit 8.

24          11.    A true and accurate copy of the April 2, 2018 termination letter sent by Express
25 Scripts to CZ Services is attached as Exhibit 9.

26          12.    A true and accurate screenshot of a portion of the CareZone Pharmacy Assistance
27 Additional Terms of Service, https://carezone.com/pharm-tos, taken on July 23, 2018, is attached

28 hereto as Exhibit 10.

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 1          13.    A     true    and     accurate   copy     of   a    screenshot      of   the    website
 2 “http://pharmacyforall.com,” taken on July 23, 2018, is attached hereto as Exhibit 11.

 3          14.    A true and accurate copy of the email created when the “Take action now” button
 4 referenced in Exhibit 11 is clicked, as of July 23, 2018, is attached hereto as Exhibit 12.

 5          15.    On June 20, 2018, CZ Services filed a complaint against Express Scripts in the
 6 Eastern District of Missouri. A true and accurate copy of that complaint is attached hereto as

 7 Exhibit 13. CZ Services voluntarily dismissed that action without prejudice on July 13, 2018.

 8          16.    A true and accurate copy of the July 20, 2018 email from counsel for CZ Services
 9 to counsel for Express Scripts is attached hereto as Exhibit 14.
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11          I declare under penalty of perjury that the foregoing is true and correct. Executed July 23,
12 2018, in Washington, DC.

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14                                                         /s/ Ethan Glass
                                                           Ethan Glass
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                                GLASS DECLARATION RE: MOTION TO TRANSFER
